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UNITED STATES BANKRUPTCY COURT : i L
MIDDLE DISTRICT OF FLORIDA Sep - 7 on
ORLANDO DIVISION mI 208

CLERK Us B

ANKRuP

Debtor(s) k ON Ry bounn Case No: Lyil$ Wc- 46 UE KS

f# AMENDED (if applicable)]| CHAPTER 13 PLAN

  

 

CHECK ONE:

Debtor! certifies that the Plan does not deviate from the model plan adopted by the Court at the
time of the filing of this case. Any nonconforming provisions are deemed stricken.

 

i The Plan contains provisions that are specific to this Plan in paragraph 9, Nonconforming
Provisions. Any nonconforming provision not set forth in paragraph 9 is deemed stricken.

1. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee's fee of 10% and shall begin 30
days from petition filing/conversion date. Debtor shall make payments to the Trustee for the period of

months. If the Trustee does not retain the full 10%, any portion not retained will be disbursed to
allowed claims receiving payment under the plan and may cause an increased distribution to the unsecured
class of creditors:

 

(A) §$ 42 for months through ly 6

(B) $50 for months ] through & >

(Cc) §$ for months through

To pay the following creditors:

2. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $ DO - Total Paid Prepetition $ O Balance Due $ .

Estimated Additional Fees Subject to Court Approval $ O

Attorney’s Fees Payable through Plan $ O Monthly (subject to adjustment)

 

‘All references to Debtor include and refer to both of the debtors in a case filed jointly by two individuals.

3. PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

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Last 4 Digits Creditor Total Claim

eS AS B00 OO

 

 

4. TRUSTEE FEES. Trustee shall receive a fee from each payment received, the percentage of which is
fixed periodically by the United States Trustee.

5. SECURED CLAIMS, Pre-confirmation payments allocated to secured creditors under the Plan,
other than amounts allocated to cure arrearages, shall be deemed adequate protection payments.

(A) Claims Secured by Real Property Which Debtor Intends to Retain/ Mortgage Payments and
Arrears, if any, Paid through the Plan. If the Plan provides for curing prepetition arrearages on a mortgage,
Debtor will pay, in addition to all other sums due under the proposed Plan, all regular monthly postpetition
mortgage payments to the Trustee as part of the Plan. These mortgage payments, which may be adjusted up or
down as provided for under the loan documents, are due beginning the first due date after the case is filed and

continuing each month thereafter. The Trustee shall pay the postpetition mortgage payments on the following
mortgage claims:

Last 4 Digits Creditor Collateral Reg. Mo. Pmt. Gap Pmt. Arrears
of Acct No. Address
OAab0 Ban oF Milo 442-00 '§ pod.ob

 

 

 

(B) Claims Secured by Real Property/Debtor Intends to Seek Mortgage Modification. Pending the
resolution of a mortgage modification request, Debtor shall make the following adequate protection payments
to the Trustee: (1) for homestead property, the lesser of 31% of gross disposable monthly income of Debtor and
non-filing spouse, if any (after deducting homeowners association fees), or the normal monthly contractual

mortgage payment, or (2) for non-homestead, income-producing property, 75% of the gross rental income
generated from the property:

Last 4 Digits Creditor Collateral Pmt. Amt.
of Acct. No. Address
0400 Bank oF Mellow 442.00

 

 

 

 

(C) Claims Secured by Real Property or Personal Property to Which Section 506 Valuation
APPLIES. Under 11 U.S.C. § 1322(b)(2), this provision does not apply to a claim secured solely by Debtor’s

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principal residence. A separate motion to determine secured status or to value the collateral must be filed. The
secured portion of the claim, estimated below, shall be paid:

Last 4 Digits Creditor Collateral Claing Amt, Value Pmt. Interest@_  %

of Acct No. 3 Desc./Address
Credit 25505 wja mile ea  Bbo
ALeeptance Sed aid, yy 834

 

(D) Claims Secured by Real Property and/or Personal Property to Which Section 506
Valuation DOES NOT APPLY. Claims of the following secured creditors shall be paid in full with interest:

Last 4 Digits Creditor Collateral Claim Amt. Pmt. Interest @ %
of Acct No. Desc./Address

 

 

 

(E) Claims Secured by Personal Property - Maintaining Regular Payments and Curing
Arrearages, if any, with All Payments in Plan.

Last 4 Digits Creditor Collateral Regular Payment Arrearages
of Acct No. Description

 

 

 

 

(F) Secured Claims/Lease Claims Paid Direct by Debtor. The following secured claims/lease claims
are being made via automatic debit/draft from Debtor’s depository account and are to continue to be paid direct
to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay is terminated
in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and lessors upon the
filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights. (Note:
The Plan must provide for the assumption of lease claims that Debtor proposes to pay direct in the
Lease/Executory Contract Section 6 below.)

Last 4 Digits Creditor Property/Collateral
of Acct No.

 

 

 

(G) Liens to be Avoided per 11 U.S.C. § 522/Stripped Off per 11 U.S.C. § 506. A separate motion
to avoid a lien under § 522 or to determine secured status and to strip a lien under § 506 must be filed.
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Last 4 Digits Creditor Collateral Description/Address
of Acct No.

 

 

 

(H) Surrender of Collateral/Leased Property. Debtor will surrender the following collateral/leased
property. The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any codebtor
as to these creditors and lessors upon the filing of this Plan. (Note: The Plan must provide for the rejection of

lease claims in the Lease/Executory Contract section below.)

Last 4 Digits Creditor Property/Collateral to be
of Acct No. Surrendered

 

 

 

6. LEASES/EXECUTORY CONTRACTS.

 

Last 4 Digits Creditor Property Assume/Reject-Surrender Est. Arrears
of Acct No.

 

 

 

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed claims shall receive

a pro rata share of the balance of any funds remaining after payments to the above referenced creditors or

shall

otherwise be paid under a subsequent Order Confirming Plan. The estimated dividend to unsecured creditors

shall be no less than $

8. ADDITIONAL PROVISIONS:

(A) Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing such
claims:
(B) Payments made to any creditor shall be based upon the amount set forth in the creditor’s

proof of claim or other amount as allowed by an Order of the Bankruptcy Court.

(C) Property of the estate (check one)*

 

qd) shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of

this case, unless the Court orders otherwise; or

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(2) } shall vest in Debtor upon confirmation of the Plan.

*If Debtor fails to check (1) or (2) above, or if Debtor checks both (1) and (2), property of the
estate shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case, unless the
Court orders otherwise.

(D) The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief
and/or the proofs of claim as filed and allowed. The Trustee shall only pay creditors with filed
and allowed proof of claims. An allowed proof of claim will control, unless the Court orders
otherwise.

(E) The Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions. The actual distributions may vary. If the summary or spreadsheet conflicts with
this Plan, the provisions of the Plan control prior to confirmation, after which time the Order
Confirming Plan shall control.

(F) Debtor shall timely file all tax returns and make all tax payments and deposits when due.
(However, if Debtor is not required to file tax returns, Debtor shall provide Trustee with a
statement to that effect.) For each tax return that becomes due after the case is filed, Debtor shall
provide a complete copy of the tax return, including business returns if Debtor owns a business,
together with all related W-2s and Form 1099s, to the Trustee within 14 days of filing the return.
Unless otherwise ordered by the Court, Debtor shall turn over to the Trustee all tax refunds in
addition to regular Plan payments. Debtor shall not instruct the Internal Revenue Service or
other taxing agency to apply a refund to the following year’s tax liability. Debtor shall spend
no tax refunds without prior court approval.

9. NONCONFORMING PROVISIONS:

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Debtor Dated:
